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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

STEPHANIE STOUT,                                §
                                                §
               Plaintiff,                       §
v.                                              §
                                                §              EP-23-CV-00080-DCG
PARAMOUNT RECOVERY SYSTEMS,                     §
L.P.                                            §
                                                §
               Defendant.                       §

                       SECOND ORDER FOR DISMISSAL PAPERS

       Paramount Recovery Systems, L.P. is the only Defendant remaining in this case. On

June 26, 2023, Plaintiff Stephanie Stout announced that she and Paramount had “reached a

settlement of this case” and were “presently drafting, finalizing, and executing the settlement

and dismissal documents.” Notice, ECF No. 33. The Court accordingly ordered Plaintiff and

Paramount “to file dismissal papers by August 25, 2023.” Order, ECF No. 34 (emphases

omitted). The Court also told the parties that if they ultimately needed “more time to complete

settlement documents and prepare dismissal papers,” they’d have to “file a request for more

time by that same date.” Id. (emphasis omitted).

       The August 25, 2023 deadline has now expired, yet neither Plaintiff nor Paramount has

filed dismissal papers or requested more time to do so.

       The Court therefore ORDERS Plaintiff and Paramount to FILE DISMISSAL

PAPERS by September 4, 2023. If the parties need more time to comply, they SHALL FILE

a request for more time by that same date. If the settlement has fallen through, the parties

SHALL INFORM the Court by that same date.
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So ORDERED and SIGNED this 28th day of August 2023.




                                 ______________________________
                                 DAVID C. GUADERRAMA
                                 SENIOR U.S. DISTRICT JUDGE




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